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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
SYBIL SMITH,
      Plaintiff,
v.                                                         CASE NO: 8:17-CV-765-T-36AAS

MIDLAND CREDIT MANAGEMENT,
INC.; JENNIFER A. SESTA; VALERIA
OBI; PAYAL CHATANI; SEAN FISHER
       Defendant.
                                                   /

                      PLAINTIFF’S NOTICE OF PENDING SETTLEMENT

        COMES NOW Plaintiff, by and through the undersigned counsel and pursuant to Local Rule 3.05, and

hereby notifies the Court and parties have settlement reached a resolution in this case, and to request 30 days in

which to file the a voluntary or stipulated dismissal as the case may be on good cause shown, to reopen the

case for further proceedings.

Date; June 7, 2017
s/ Scott Stamatakis
Scott Stamatakis
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Trial Attorney for Plaintiff
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                                        CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on June 7, 2017, that the foregoing document is being served via email, but
not filed, upon all counsel and/or persons to their email address as currently registered with the Clerk of the
Court for the transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive electronically Notices of Electronic
Filing.
                                  s/ Scott Stamatakis
                                  Scott Stamatakis
                                  Florida Bar No.: 178454
                                  Trial Attorney for Plaintiff
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